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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

CHARLENE ARKANSAS,                                  §
         Plaintiff,                                 §
                                                    §
v.                                                  §    Civil Action No. 3:21-CV-0122-B-BH
                                                    §
SPECIALIZED LOAN SERVICING, LLC,                    §
WILMINGTON TRUST, NATIONAL                          §
ASSOCIATION, AS SUCCESSOR                           §
TRUSTEE TO CITIBANK, N.A., AS                       §
TRUSTEE FOR BEAR STERNS ASSET                       §
BACKED SECURITIES I TRUST                           §
2006-HE4 ASSET-BACKED                               §
CERTIFICATES, SERIES 2006-HE4, and                  §
PAULA DIANE DUNCANSON,                              §
           Defendants.                              §

                                         FINAL JUDGMENT

        This action came on for consideration by the Court, and the issues having been duly

considered and a decision duly rendered,

        It is ORDERED, ADJUDGED and DECREED that:

        1.       Wilmington Trust National Association, as Successor Trustee to Citibank, N.A., as

Trustee for Bear Sterns Asset Backed Securities I Trust 2006-HE4, Asset-Backed Certificates, Series

2006-HE4, is entitled and authorized to foreclose on their lien on the real property collateral located

at 6415 Lazy River Drive, Dallas, Texas 75241.

        2.       The defendants shall recover from and against the plaintiff their reasonable attorneys'

fees and costs in the amount of $16,167.31.

        3.       The taxable costs of court, as calculated by the clerk of the court, are assessed against

the plaintiff.

        4.       Any relief not specifically granted in this Judgment is denied.
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       5.     The Clerk shall transmit a true copy of this Final Judgment and the Order Accepting

the Findings and Recommendation of the United States Magistrate Judge to all parties.

       SIGNED this 4th day of March, 2022.



                                            _________________________________
                                            JANE J. BOYLE
                                            UNITED STATES DISTRICT JUDGE

                                            ____________________________________




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